           Case 4:10-cv-04868-SBA Document 190 Filed 07/19/13 Page 1 of 1


                  IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF CALIFORNIA
                     CIVIL CONFERENCE MINUTE ORDER

CASE NO. C-10-4868-SBA

CASE NAME: ATHENA FEMININE TECHNOLOGIES INC. v. DEREK WILKES, ET AL

MAGISTRATE JUDGE DONNA M. RYU                    COURTROOM DEPUTY: Ivy Garcia

DATE: 7/19/2013                TIME: 6.0 Hrs.    FTR: 3:31-3:44

                                                 COUNSEL FOR DEFENDANTS
                                                 WILKES, CORDELL, PELFIT AND
COUNSEL FOR PLAINTIFF:                           SILK ROAD:
Steven Finley                                    Christopher Sargent




                                    PROCEEDINGS
[ ]   CASE MANAGEMENT CONFERENCE

[X]   FURTHER SETTLEMENT CONFERENCE HELD

[ ]   DISCOVERY CONFERENCE

[ ]   MOTION HEARING

[ ]   OTHER:


CASE CONTINUED TO:                                  FOR


NOTES: Matter fully settled.



cc:   Chambers, Lisa Clark (CRD of Judge S.B. Armstrong)
